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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

MURIEL JENKINS,
an individual,
                                                      Case No.: 8:16-cv-02746-EAK-AEP
        Plaintiff,
v.

THE TERMINIX INTERNATIONAL
COMPANY LIMITED PARTNERSHIP,
a foreign limited partnership,
THE SERVICEMASTER ACCEPTANCE
COMPANY LIMITED PARTNERSHIP,
a foreign limited partnership, and
FOCUS RECEIVABLES MANAGEMENT, LLC,
a foreign limited liability company,

      Defendants.
___________________________________/

                            NOTICE OF SETTLEMENT AND
                        NOTICE OF DISMISSAL WITH PREJUDICE

        COMES NOW, Plaintiff, MURIEL JENKINS (“Plaintiff”), by and through the

undersigned counsel pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i) and Middle

District of Florida, Local Rule 3.08, and hereby files this Notice of Settlement and Notice of

Dismissal with Prejudice.         Pursuant to Plaintiff’s settlement with THE TERMINIX

INTERNATIONAL COMPANY LIMITED PARTNERSHIP, THE SERVICEMASTER

ACCEPTANCE COMPANY LIMITED PARTNERSHIP, and FOCUS RECEIVABLES

MANAGEMENT, LLC (hereinafter collectively, “Defendants”), Plaintiff states as follows:

        1.      Plaintiff and Defendants reached a confidential settlement in the above-styled

case.

        2.      Plaintiff hereby dismisses her claims with prejudice.

        3.      The Parties shall bear their own attorneys’ fees and costs.
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       4.      To the extent the Court treats the foregoing as a Motion, pursuant to Middle

District of Florida Local Rule 3.01(g), the undersigned certifies he consulted with Defendants’

counsel, and Defendants agree to the relief sought herein.

       Submitted this 27th day of December 2016.

                                             Respectfully submitted,
                                             LEAVENLAW

                                             /s/ Aaron M. Swift
                                             Ian R. Leavengood, Esq., FBN 010167
                                             Aaron M. Swift, Esq., FBN 093088
                                             Gregory H. Lercher, Esq., FBN 106991
                                             Sara J. Weiss, Esq., FBN 115637
                                             Northeast Professional Center
                                             3900 First Street North, Suite 100
                                             St. Petersburg, FL 33703
                                             Phone: (727) 327-3328
                                             Fax: (727) 327-3305
                                             consumerservice@leavenlaw.com
                                             aswift@leavenlaw.com
                                             glercher@leavenlaw.com
                                             sweiss@leavenlaw.com
                                             Attorneys for Plaintiff

                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on December 27, 2016, I filed a true and correct copy of the
above and foregoing Notice of Settlement and Notice of Dismissal with Prejudice via CM/ECF
which will electronically serve counsel of record:

       Aaron D. Lyons, Esq.
       Rossway, Swan, Tierney, Barry, Lacey & Oliver, P.L.
       2101 Indian River Blvd., Suite 200
       Vero Beach, FL 32960
       alyons@rosswayswan.com
       adlyonspa@bellsouth.net
       Attorneys for Defendants


                                             /s/ Aaron M. Swift
                                             Attorney
